            Case 3:22-cv-02718-SK    Document 67   Filed 08/26/24     Page 1 of 35



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10

11                              UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13

14   JOSEPHINE LEE,                             Case No. 3:22-CV-02718-SK

15          Plaintiff,                          DEFENDANT PAYPAL, INC.’S NOTICE OF
                                                MOTION AND MOTION FOR SUMMARY
16                  v.                          JUDGMENT; MEMORANDUM OF POINTS
                                                AND AUTHORITIES IN SUPPORT
17   CITIGROUP HOLDINGS, INC. dba               THEREOF
     CITIBANK, N.A. and PAYPAL, INC.,
18                                              Date: September 30, 2024
            Defendants.                         Time: 9:30 a.m.
19                                              Ctrm: C

20                                              Honorable Sallie Kim, Magistrate Judge

21                                              Complaint Filed: May 5, 2022
                                                FAC Filed: June 2, 2022
22
                                                Trial Date: January 14, 2025
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                                         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                            -1-               Case No. 3:22-CV-02718-SK
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 2 of 35



 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that on September 30, 2024, at 9:30 a.m., or as soon thereafter as this
 3   matter may be heard in Courtroom C – 15th floor of the above-captioned Court, located at 450 Golden
 4   Gate Avenue, San Francisco, CA 94102, Defendant PayPal, Inc. (“PayPal”) will, and hereby does, move
 5   this Court, pursuant to Federal Rule of Civil Procedure 56, for an order granting summary judgment in
 6   PayPal’s favor as to Plaintiff Josephine Lee’s claims for violation of the Electronic Fund Transfer Act (15
 7   U.S.C. §§ 1693, et seq.), violation of California’s Unfair Competition Law (Cal. Bus. & Prof. Code §§
 8   17200, et seq.), negligence, and conversion alleged in Plaintiff’s First Amended Complaint (the “FAC”).
 9          PayPal is entitled to summary judgment in its favor because there are no triable issues of material
10   fact, and Plaintiff cannot prove the essential elements of each of her alleged claims. This Motion is based
11   upon this this Notice, the accompanying Memorandum of Points and Authorities, Declaration of John J.
12   Atallah and the exhibits thereto, the records and pleadings on file herein, and upon such oral or
13   documentary evidence as may be presented at the time of hearing thereon.
14

15
     DATED: August 26, 2024                         FOLEY & LARDNER LLP
16
                                                    JOHN J. ATALLAH
17                                                  BRYAN T. METTE

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19
                                                    /s/ John J. Atallah
20                                                  John J. Atallah
                                                    Attorneys for Defendant PayPal, Inc.
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                                                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                                   -2-               Case No. 3:22-CV-02718-SK
             Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24     Page 3 of 35



 1                            STATEMENT OF THE ISSUES TO BE DECIDED
 2          1.       Does Plaintiff Josephine Lee’s federal Electronic Fund Transfer Act (“EFTA”) claim fail
 3   because the EFTA and its implementing regulation, Regulation E, do not apply to a PayPal account that
 4   never belonged to Plaintiff and to which she never had access?
 5          2.       Does the one satisfaction rule, taken together with other equitable principles, prevent
 6   Plaintiff from seeking double recovery for alleged damages when those damages have already been wholly
 7   compensated through a separate arbitration proceeding against the alleged joint tortfeasor, Citibank, N.A.
 8   (“Citibank”)?
 9          3.       Does Plaintiff’s California Unfair Competition Law (“UCL”) claim fail on the grounds that
10   Plaintiff is not entitled to either of the UCL’s limited remedies?
11          4.       Does Plaintiff’s UCL claim also fail because Plaintiff cannot prove PayPal engaged in
12   unlawful, unfair, or fraudulent conduct?
13          5.       Does Plaintiff’s negligence claim fail because Plaintiff cannot establish the necessary
14   elements of that cause of action under California law?
15          6.       Does Plaintiff’s California law conversion claim fail because it is undisputed that an
16   unauthorized third party, not PayPal, stole the funds at issue from Plaintiff’s Citibank account?
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                                                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                                    -3-               Case No. 3:22-CV-02718-SK
            Case 3:22-cv-02718-SK                       Document 67                 Filed 08/26/24                Page 4 of 35



 1                                                        TABLE OF CONTENTS
 2   I.     INTRODUCTION ....................................................................................................................... 1
 3   II.    STATEMENT OF UNDISPUTED MATERIAL FACTS .......................................................... 1
 4          A.        THE UNAUTHORIZED THIRD PARTY STEALS FUNDS FROM
                      PLAINTIFF’S CITIBANK ACCOUNT. ........................................................................ 1
 5
            B.        CITIBANK DENIES PLAINTIFF’S REIMBURSEMENT REQUESTS. ..................... 3
 6
            C.        PAYPAL ATTEMPTS TO HELP PLAINTIFF. ............................................................. 3
 7
            D.        PAYPAL FINALLY RECEIVES THE INFORMATION NEEDED TO LOCATE
 8                    THE UNAUTHORIZED ACCOUNT. ............................................................................ 4
 9          E.        PLAINTIFF DIRECTS HER ANGER AND FRUSTRATION AT CITIBANK,
                      NOT PAYPAL. ................................................................................................................ 5
10
            F.        PLAINTIFF FILES SUIT AGAINST CITIBANK AND PAYPAL. .............................. 6
11
            G.        CITIBANK IS ORDERED TO PAY ALL OF PLAINTIFF’S ALLEGED
12                    DAMAGES. ..................................................................................................................... 6
13   III.   LEGAL STANDARD .................................................................................................................. 7
14   IV.    ARGUMENT ............................................................................................................................... 8
15          A.        EFTA CLAIM .................................................................................................................. 8
16                       1.         The EFTA and Regulation E Do Not Apply to the Unauthorized
                                    Account. ............................................................................................................ 8
17
                         2.         Plaintiff’s Alleged Damages Cannot be Attributed to PayPal. ....................... 11
18
            B.        UCL CLAIM .................................................................................................................. 14
19
                         1.         Plaintiff is Not Entitled to Either of the Limited Remedies
20                                  Available Under the UCL. .............................................................................. 14
21                       2.         PayPal’s Conduct was Not Unlawful, Unfair, or Fraudulent. ........................ 17
22          C.        NEGLIGENCE CLAIM ................................................................................................ 19
23                       1.         Plaintiff Cannot Establish PayPal Owed Her a Legal Duty in
                                    Connection with the Investigation of Transactions Involving a
24                                  PayPal Account that Did Not Belong to Her. ................................................. 19
25                       2.         Even if Plaintiff Could Establish a Legal Duty, PayPal Did Not
                                    Breach It. ......................................................................................................... 21
26
                         3.         PayPal’s Conduct is Not the Proximate Cause of Plaintiff’s
27                                  Injuries. ........................................................................................................... 21
28                       4.         Plaintiff Cannot Establish She Has Any Damages. ........................................ 22

                                                                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                                                   -i-               Case No. 3:22-CV-02718-SK
          Case 3:22-cv-02718-SK                      Document 67               Filed 08/26/24              Page 5 of 35



 1        D.        CONVERSION CLAIM ................................................................................................ 22
 2   V.   CONCLUSION .......................................................................................................................... 23
 3

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                                    DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                     Case No. 3:22-CV-02718-SK
                                                  -ii-
                Case 3:22-cv-02718-SK                       Document 67               Filed 08/26/24              Page 6 of 35



 1                                                        TABLE OF AUTHORITIES
                                                                                                                                                  Page(s)
 2

 3   Federal Cases

 4   Anderson v. Liberty Lobby, Inc.,
       477 U.S. 242 (1986) ............................................................................................................................... 7
 5
     Attisha Enterprises, Inc. v. Cap. One, N.A.,
 6      505 F. Supp. 3d 1051 (S.D. Cal. 2020) ................................................................................................ 19
 7   Benn v. Allstate Ins. Co.,
       569 F. Supp. 3d 1029 (C.D. Cal. 2021)................................................................................................ 16
 8

 9   Big Red Box, LLC v. Square, Inc.,
        2020 WL 465928 (D.S.C. Jan. 22, 2020) ............................................................................................. 23
10
     Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc.,
11     637 F.3d 1047 (9th Cir. 2011) ................................................................................................................ 7
12   City of Los Angeles v. Lyons,
        461 U.S. 95 (1983) ............................................................................................................................... 15
13
     Crocker-Citizens Nat. Bank v. Control Metals Corp.,
14
       566 F.2d 631 (9th Cir. 1977) .......................................................................................................... 22, 23
15
     Davis v. HSBC Bank Nevada, N.A.,
16     691 F.3d 1152 (9th Cir. 2012) .............................................................................................................. 17

17   Dorsey v. U.S. Bank National Association,
       2012 WL 13001917 (M.D. La. Apr. 2, 2012) .......................................................................... 10, 11, 23
18
     DZ Rsrv. v. Meta Platforms, Inc.,
19
       96 F.4th 1223 (9th Cir. 2024) ............................................................................................................... 16
20
     FAA v. Cooper,
21     566 U.S. 284 (2012) ....................................................................................................................... 11, 12

22   Fresno Motors, LLC v. Mercedes Benz USA, LLC,
       771 F.3d 1119 (9th Cir. 2014) .................................................................................................. 14, 15, 17
23
     Hal Roach Studios, Inc. v. Richard Feiner & Co.,
24     896 F.2d 1542 (9th Cir. 1989) ................................................................................................................ 7
25
     Hightower v. City & Cnty. of San Francisco,
26     77 F. Supp. 3d 867 (N.D. Cal. 2014) ............................................................................................. 15, 17

27   Hobbs by & through Hobbs v. Wells Fargo Bank, National Association,
       2022 WL 17972163 (S.D. Cal. Sept. 14, 2022) .................................................................................. 21
28

                                                                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                                                      -iii-             Case No. 3:22-CV-02718-SK
               Case 3:22-cv-02718-SK                      Document 67              Filed 08/26/24              Page 7 of 35



 1   Hodsdon v. Mars, Inc.,
       891 F.3d 857 (9th Cir. 2018) ................................................................................................................ 17
 2
     Hodsdon v. Mars, Inc.,
 3
       162 F. Supp. 3d 1016 (N.D. Cal. 2016) .............................................................................................. 17
 4
     In re Google Assistant Priv. Litig.,
 5      546 F. Supp. 3d 945 (N.D. Cal. 2021) ................................................................................................. 15

 6   In re Meta Pixel Tax Filing Cases,
        2024 WL 1251350 (N.D. Cal. Mar. 25, 2024) ..................................................................................... 14
 7
     Jones v. Micron Tech. Inc.,
 8
       400 F. Supp. 3d 897 (N.D. Cal. 2019) ................................................................................................. 17
 9
     Kanji v. Bank of Am., N.A.,
10     2020 WL 8175548 (C.D. Cal. Aug. 25, 2020) ............................................................................... 15, 16

11   Lusinyan v. Bank of Am., N.A.,
       2015 WL 12777225 (C.D. Cal. May 26, 2015) ................................................................................... 16
12
     Makhzoomi v. Sw. Airlines Co.,
13     419 F. Supp. 3d 1136 (N.D. Cal. 2019) ............................................................................................... 19
14
     Marquess v. Pennsylvania State Employees,
15     427 F. App’x 188 (3d Cir. 2011) .................................................................................................... 10, 11

16   Maynard v. PayPal, Inc.,
       2019 WL 3552432 (N.D. Tex. Aug. 5, 2019) ...................................................................................... 20
17
     Miller v. Bank of Am., N.A.,
18     2022 WL 3704093 (E.D. Cal. Aug. 26, 2022) ............................................................................... 22, 23
19   Nelson v. Pima Cmty. Coll.,
20     83 F.3d 1075 (9th Cir. 1996) ................................................................................................................ 19

21   Nia v. Bank of Am., N.A.,
       2024 WL 1298004 (S.D. Cal. Mar. 26, 2024)...................................................................................... 18
22
     Nordberg v. Trilegiant Corp.,
23     445 F. Supp. 2d 1082 (N.D. Cal. 2006) ................................................................................................. 8
24   Osofsky v. Zipf,
25     645 F.2d 107 (2d Cir. 1981) ................................................................................................................. 12

26   Phillips v. U.S. Customs & Border Prot.,
       74 F.4th 986 (9th Cir. 2023) ................................................................................................................. 16
27
     Prignoli v. Bruczynski,
28      2021 WL 4443895 (E.D.N.Y. Sept. 28, 2021) ..................................................................................... 23
                             DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                                         Case No. 3:22-CV-02718-SK
                                                -iv-
                Case 3:22-cv-02718-SK                      Document 67                Filed 08/26/24             Page 8 of 35



 1   Russello v. United States,
       464 U.S. 16 (1983) ............................................................................................................................... 13
 2
     Ryan v. Foster & Marshall, Inc.,
 3
       556 F.2d 460 (9th Cir. 1977) ................................................................................................................ 12
 4
     Herrera v. TD Bank, N.A,
 5     682 F. Supp. 1271 (S.D. Fla. 2023)...................................................................................................... 10

 6   Seoul Semiconductor Co. v. Finelite, Inc.,
       694 F. Supp. 3d 1199 (N.D. Cal. 2023) ................................................................................................. 8
 7
     Sparkman v. Comerica Bank,
 8
       2023 WL 8852487 (N.D. Cal. Dec. 21, 2023) ..................................................................................... 16
 9
     Uthe Tech. Corp. v. Aetrium, Inc.,
10     808 F.3d 755 (9th Cir. 2015) .......................................................................................................... 13, 14

11   Wang Labs., Inc. v. Mitsubishi Elecs. Am., Inc.,
       860 F. Supp. 1448 (C.D. Cal. 1993)....................................................................................................... 7
12
     Widjaja v. JPMorgan Chase Bank, N.A.,
13     21 F.4th 579 (9th Cir. 2021) ................................................................................................................... 8
14
     State Cases
15
     Archer v. Coinbase, Inc.,
16     53 Cal. App. 5th 266 (2020) ................................................................................................................. 19

17   Berry v. Frazier,
       90 Cal. App. 5th 1258 (2023) ......................................................................................................... 22, 23
18
     Casey v. U.S. Bank Nat. Ass’n,
19     127 Cal. App. 4th 1138 (2005) ............................................................................................................. 20
20
     Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co.,
21     973 P.2d 527 (Cal. 1999) ..................................................................................................................... 14

22   Chazen v. Centennial Bank,
       61 Cal. App. 4th 532 (1998) ................................................................................................................. 20
23
     Das v. Bank of Am., N.A.,
24     186 Cal. App. 4th 727 (2010) ............................................................................................................... 19
25
     Korea Supply Co. v. Lockheed Martin Corp.,
26     63 P.3d 937 (Cal. 2003) ....................................................................................................................... 14

27   Kurtz-Ahlers, LLC v. Bank of Am., N.A.,
       48 Cal. App. 5th 952 (2020) ........................................................................................................... 19, 20
28
                                          DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                           Case No. 3:22-CV-02718-SK
                                                        -v-
                Case 3:22-cv-02718-SK                        Document 67                Filed 08/26/24               Page 9 of 35



 1   Kwikset Corp. v. Superior Ct.,
       246 P.3d 877 (Cal. 2011) ..................................................................................................................... 15
 2
     Lee v. Hanley,
 3
       354 P.3d 334 (Cal. 2015) ..................................................................................................................... 22
 4
     McCann v. Lucky Money, Inc.,
 5     129 Cal. App. 4th 1382 (2005) ............................................................................................................. 20

 6   Ngu v. City Bail Bonds,
       71 Cal. App. 5th 644 (2021) ................................................................................................................. 15
 7
     Software Design & Application, Ltd. v. Hoefer & Arnett, Inc.,
 8
        49 Cal. App. 4th 472 (1996) ........................................................................................................... 19, 20
 9
     Spates v. Dameron Hosp. Assn.,
10     114 Cal. App. 4th 208 (2003) ............................................................................................................... 22

11   State Dep’t of State Hosps. v. Superior Ct.,
        349 P.3d 1013 (Cal. 2015) ................................................................................................................... 21
12
     Tavaglione v. Billings,
13     847 P.2d 574 (Cal. 1993) ..................................................................................................................... 13
14
     Zhang v. Superior Ct.,
15     304 P.3d 163 (Cal. 2013) ..................................................................................................................... 15

16   Federal Statutes

17   12 U.S.C. § 5514(d) .................................................................................................................................. 10
18   12 U.S.C. § 5581(b)(1) ............................................................................................................................. 10
19   15 U.S.C. § 1681(a)(2) .............................................................................................................................. 12
20   15 U.S.C. § 1681(a)(4) .............................................................................................................................. 12
21
     15 U.S.C. § 1693 ......................................................................................................................................... 8
22
     15 U.S.C. § 1693a(12) .......................................................................................................................... 8, 10
23
     15 U.S.C. § 1693(b) .................................................................................................................................. 12
24
     15 U.S.C. § 1693b(a)(1) ............................................................................................................................ 10
25
     15 U.S.C § 1693f .................................................................................................................................. 8, 10
26
     15 U.S.C. § 1693f(a) ................................................................................................................................... 8
27

28   15 U.S.C. § 1693f(a)(2) ............................................................................................................................ 10

                                           DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                            Case No. 3:22-CV-02718-SK
                                                         -vi-
               Case 3:22-cv-02718-SK                        Document 67                 Filed 08/26/24               Page 10 of 35



 1   15 U.S.C. § 1693f(c) ........................................................................................................................... 10, 11
 2   15 U.S.C. § 1693f(f)(2) ............................................................................................................................. 10
 3   15 U.S.C. § 1693g(a)(2) .............................................................................................................................. 8
 4
     15 U.S.C. § 1693h(a) ................................................................................................................................ 12
 5
     15 U.S.C. § 1693h(a)(1)–(3) ..................................................................................................................... 12
 6
     15 U.S.C. § 1693i(a) ................................................................................................................................. 10
 7
     15 U.S.C. § 1693m(a)(1)........................................................................................................................... 11
 8
     15 U.S.C. § 1693m(a) ............................................................................................................................... 12
 9
     42 U.S.C. § 3604 ....................................................................................................................................... 12
10

11   Federal Rules

12   Fed. R. Civ. P. 56 ........................................................................................................................................ 7

13   Fed. R. Civ. P. 56(a) ................................................................................................................................... 7

14   Fed. R. Civ. P. 56(c) ................................................................................................................................... 7

15   Fed. R. Civ. P. 56(e)(3) ............................................................................................................................... 7
16   Fed. R. Civ. P. 56(g) ................................................................................................................................... 7
17   Federal Regulations
18
     12 C.F.R. Pt. 205, Supp. I § 205.3 ............................................................................................................ 10
19
     12 C.F.R. Pt. 205, Supp. I § 205.3(a)(1)(i) ............................................................................................... 11
20
     12 C.F.R. Pt. 1005, Supp. I § 1005.3(a)(1)(i) ........................................................................................... 10
21
     12 C.F.R. §1005.3(a)................................................................................................................................. 10
22

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                                           DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                            Case No. 3:22-CV-02718-SK
                                                         -vii-
            Case 3:22-cv-02718-SK            Document 67        Filed 08/26/24       Page 11 of 35



 1                            MEMORANDUM OF POINTS AND AUTHORITIES
 2     I.    INTRODUCTION
 3           In May 2021, Plaintiff Josephine Lee fell victim to an unauthorized third party who gained access
 4   to her bank account at Citibank, made transfers totaling $20,600 to a PayPal account that the third party
 5   had created in Plaintiff’s name, and then drained the funds from that unauthorized PayPal account. PayPal
 6   worked diligently with Plaintiff to track down the fraudulent transactions at issue (which had been
 7   concealed by the unauthorized third party’s use of a bill payment service), and provided information to
 8   Plaintiff in support of the separate investigation she had initiated with Citibank. Plaintiff expressed her
 9   appreciation of PayPal’s efforts, thanking PayPal for “thoroughly investigat[ing]” her case.
10           Without any further word to PayPal, Plaintiff filed this lawsuit alleging violations of the Electronic
11   Fund Transfer Act and California Unfair Competition Law and also asserting state law negligence and
12   conversion claims. Citibank moved to compel arbitration and recently completed the first phase of an
13   arbitration hearing in which the arbitrator awarded Plaintiff a total of $1,895,000 and indicated that
14   additional amounts would be awarded to Plaintiff in the second phase of the arbitration proceeding.
15           While Plaintiff’s loss of $20,600 is understandably frustrating, her prior inability to recover the
16   funds from the unauthorized third party or Citibank (the institution that maintained the account from which
17   the funds were stolen) does not make PayPal responsible under any of Plaintiff’s theories. PayPal did not
18   steal the funds, did not aid the theft, and did not directly or indirectly cause Plaintiff to suffer any damages.
19   Nonetheless, Plaintiff is attempting to parlay her loss of $20,600 into another seven-figure payday and is
20   seeking from PayPal a litany of damages that are not available to her. Worse yet, she is seeking an unlawful
21   double recovery from PayPal for damages that an arbitrator has already ordered Citibank to pay in
22   compensation for Plaintiff’s alleged damages. For these reasons, and as set forth in greater detail below,
23   PayPal respectfully requests that the Court grant summary judgment for PayPal on all of Plaintiff’s claims.
24    II.    STATEMENT OF UNDISPUTED MATERIAL FACTS
25           A. The Unauthorized Third Party Steals Funds from Plaintiff’s Citibank Account.
26           This action stems from a scheme perpetrated by an unauthorized third party that resulted in the
27   theft of $20,600 from Plaintiff’s bank account at Citibank (the “Citibank Account”). (Plaintiff’s First
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                                                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                                      -1-               Case No. 3:22-CV-02718-SK
              Case 3:22-cv-02718-SK        Document 67        Filed 08/26/24      Page 12 of 35



 1   Amended Complaint, ECF 11, ¶¶ 18, 22.) 1 By means unknown to PayPal, the unauthorized third party
 2   gained access to Plaintiff’s Citibank Account and, via Citibank’s online bill payment service, initiated
 3   three separate transfers of $3,900, $6,800, and $9,900 from the Citibank Account to a PayPal account that
 4   the unauthorized third party had opened in Plaintiff’s name without her knowledge or authorization. (ECF
 5   11, ¶¶ 18, 22; Declaration of John J. Atallah in Support of Defendant PayPal Inc.’s Motion for Summary
 6   Judgment (“Atallah Decl.”) ¶ 3, Exhibit A, Deposition Transcript of Josephine Lee (“Lee Dep.”) at 30:16–
 7   31:3, 187:14–17; Atallah Decl. ¶ 4, Exhibit B, Deposition Transcript of Dennis Psota (“Psota Dep.”) at
 8   40:8–14.) These transfers were initiated on May 12, 2021, May 14, 2021, and May 18, 2021, respectively.
 9   (Lee Dep. at 30:8–31:3.) Plaintiff noticed the first two transactions after checking her bank account while
10   on vacation in Mexico, prompting her to call Citibank on May 16, 2021, to dispute the transfers. (Lee Dep.
11   at 31:4–7.) Plaintiff called Citibank again on May 19 after noticing the third transaction. (ECF 11, ¶ 23.)
12            During the same timeframe, Plaintiff also called PayPal to determine the details of the PayPal
13   account to which the funds had been transferred. (Lee Dep. at 34:8.) Despite PayPal’s best efforts, Plaintiff
14   was unable to provide the necessary information that would enable PayPal to locate the fraudulent
15   transactions and corresponding account because none of the transfers were made to Plaintiff’s existing
16   PayPal account—nor could they be traced back to her Citibank Account because the unauthorized third
17   party had used Citibank’s online bill payment service. (Lee Dep. at 60:11–19, 100:7–10; Psota Dep. at
18   40:10–14; Atallah Decl. ¶ 9, Exhibit G, Defendant PayPal, Inc.’s Responses to Plaintiff’s Interrogatories,
19   Set One (“PayPal’s Resp. to Pltf.’s ROG”) at ROG 6). At the time of the fraudulent transfers, Plaintiff
20   had an existing PayPal account (the “Real Account”), which she had created around April 25, 2010, after
21   agreeing to the terms of PayPal’s User Agreement. (Lee Dep. at 149:3–20.) The unauthorized third party
22   did not transfer any of the stolen funds into the Real Account. (Lee Dep. at 60:11–19, 100:7–10.) Instead,
23   the unauthorized third party transferred the funds to an unauthorized PayPal account that they had created
24   on May 8, 2021, in Plaintiff’s name and without her knowledge (the “Unauthorized Account”). (Atallah
25   Decl. ¶ 5, Exhibit C, Exhibit 10 from Psota Deposition.) To do so, the unauthorized third party used some
26   of Plaintiff’s identifying information, but linked an email address, BarbaraQWest@outlook.com, of which
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28   1
         PayPal references filings on the docket in this matter with the shorthand “ECF ”.
                                  DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                                  Case No. 3:22-CV-02718-SK
                                                         -2-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 13 of 35



 1   Plaintiff was unaware at the time. (Lee Dep. at 61:8–12, 187:14–17.) Plaintiff did not authorize the
 2   Unauthorized Account, was unaware it existed, never had the ability to log into it, and acknowledged it
 3   did not belong to her. (ECF 11, ¶¶ 57a–c, 61, 105b, f–g, 112; Lee Dep. at 60:11–15; 187:8–17.) The
 4   unauthorized third party later absconded with the funds from the Unauthorized Account. (Atallah Decl. ¶
 5   11, Exhibit I, Exhibit 8 from Lee Deposition (“Lee Dep. Exh.”) at PP-LEE-000050).
 6          B.   Citibank Denies Plaintiff’s Reimbursement Requests.
 7          After learning that $20,600 had been stolen from her Citibank Account, Plaintiff had numerous
 8   communications with Citibank throughout 2021—both orally and in writing—as she attempted to recover
 9   her funds. (Lee Dep. at 111:1–19.) She was unsuccessful, as Citibank declined to credit her Citibank
10   Account for the stolen funds and declined her requests for reimbursement multiple times. (Lee Dep. at
11   111:1–112:5.) Citibank memorialized these denials in correspondence it sent to Plaintiff. (Lee Dep. 114:3–
12   8.) Plaintiff never sent copies of Citibank’s written denials to PayPal. (Lee Dep. 114:17–20.)
13          Citibank denied Plaintiff’s requests for reimbursement based on its conclusion that Plaintiff had in
14   fact authorized the transfers. (Lee Dep. at 112:1–10.) Plaintiff continued to dispute this conclusion, while
15   Citibank continued to deny her requests, eventually declaring, in September 2021, that it would no longer
16   communicate with Plaintiff about her disputes. (Atallah Decl. ¶ 6, Exhibit D, Lee Dep. Exh. 7 at
17   LEE000088). On or around July 1, 2021, Plaintiff filed a complaint against Citibank with the Consumer
18   Financial Protection Bureau (“CFPB”). (Lee Dep. at 124:8–10.) Citibank responded to Plaintiff’s CFPB
19   complaint on July 13, 2021, standing by its prior conclusions and once again explaining the basis for its
20   denial of Plaintiff’s claim for reimbursement. (Atallah Decl. ¶ 7, Exhibit E, Lee Dep Exh. 5.).
21          In the course of her communications with Citibank during this time, Citibank provided to Plaintiff
22   a copy of a document titled “Merchant Transaction Report.” (Lee Dep. at 111:6–9; Atallah Decl. ¶ 8,
23   Exhibit F, Lee Dep. Exh. 3.)
24          C. PayPal Attempts to Help Plaintiff.
25          From May through October 2021, PayPal engaged in calls with Plaintiff and investigated her
26   inquiries in an effort to locate and provide information on the stolen funds. (PayPal’s Resp. to Pltf.’s ROG
27   6; Lee Dep. at 35:21–36:2.) During that timeframe, Plaintiff spoke with multiple PayPal team members,
28   each of whom sought in good faith to help her find the information she was looking for. (PayPal’s Resp.
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -3-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 14 of 35



 1   to Pltf.’s ROG 6.) In addition to calls placed by Plaintiff to PayPal, representatives at PayPal initiated a
 2   number of calls to Plaintiff as they continued to investigate and left Plaintiff voicemails on the occasions
 3   where representatives were unable to reach her. (Lee Dep. at 106:1–11.)
 4          During calls with Plaintiff, PayPal team members asked Plaintiff to provide information that might
 5   help identify the PayPal account that received the funds, including the account number for her Citibank
 6   Account. (PayPal’s Resp. to Pltf.’s ROG 6.) Because the unauthorized third party had used Citibank’s
 7   online bill payment service to initiate the fraudulent transfers, and the use of that service obscures
 8   information about the underlying Citibank account, those transfers could not be located using Plaintiff’s
 9   Citibank Account number. (PayPal’s Resp. to Pltf.’s ROG 6; Psota Dep. at 40:10–14.) Further, because
10   Plaintiff was unfamiliar with the Unauthorized Account, she was unable to provide any information to
11   PayPal—for example, the associated email address and phone number—that would enable PayPal to track
12   down the Unauthorized Account and related transfers. (Id.) Plaintiff cannot recall if she provided her social
13   security number to PayPal in the course of these calls. (Lee Dep. at 36:13–19.)
14          D. PayPal Finally Receives the Information Needed to Locate the Unauthorized Account.
15          On October 1, 2021, Plaintiff submitted to the CFPB a complaint against PayPal that included a
16   number of attachments as exhibits. (Lee Dep. at 133:19–134:11; Lee Dep. Exh. 7.) Using the more detailed
17   information in those attachments (which PayPal was then receiving for the first time), PayPal was able to
18   locate the Unauthorized Account using trace information in the Merchant Transaction Report that Citibank
19   had provided to Plaintiff. (PayPal’s Responses to ROG 6.) After reviewing the complaint and investigating
20   further, PayPal timely prepared and provided a response on October 15, 2021. (Lee Dep. Exh. 8.) In its
21   response, PayPal informed Plaintiff and the CFPB of the investigation and PayPal’s conclusion that
22   Plaintiff was the victim of identity theft. (Id.) By that point in time, the unauthorized third party had
23   already transferred the funds out of the Unauthorized Account. (Id.)
24          After PayPal responded to Plaintiff’s CFPB complaint, PayPal and Plaintiff engaged in a series of
25   email communications from October 2021 to November 2021. 2 (Lee Dep. at 165:3–166:2; Atallah Decl.
26

27   2
      Some of these emails inexplicably only list the month, but not the date, year, or time they were sent,
28   Plaintiff testified that these emails post-date PayPal’s response to her CFPB complaint on October 15,
     2021. (Lee Dep. at 167:8–16.)
                                  DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                                Case No. 3:22-CV-02718-SK
                                                        -4-
            Case 3:22-cv-02718-SK          Document 67       Filed 08/26/24      Page 15 of 35



 1   ¶ 12, Exhibit J, Lee Dep. Exh. 10.) In these emails, Plaintiff expressed her gratitude and appreciation to
 2   PayPal for thoroughly investigating her claims of fraud and providing her information to allow her to
 3   further dispute her claims with Citibank. (Lee Dep. at 167:17–168:17.) On October 18, 2021, she told
 4   PayPal that she “really appreciate[d] the information” that PayPal relayed to her. (Lee Dep. Exh. 10 at
 5   LEE000178.) She also expressed that “it seems Paypal is the only place that I can get some answers….”
 6   (Id.) Most importantly, she thanked PayPal for its efforts in investigating her fraud claims stating: “And
 7   thank you sooo much for taking the time to thoroughly investigate my case…” (Id.) All of these
 8   contemporaneous statements from Plaintiff belie her later attempts to rewrite history by alleging that
 9   PayPal “failed to make a full and proper investigation into Plaintiff’s claim of fraud and theft” (ECF 11,
10   ¶ 82), or “truly investigate the fraud.” (Atallah Decl. ¶ 10, Exhibit H, Plaintiff’s Responses to Defendant
11   PayPal Inc.’s Interrogatories (“Pltf.’s Responses to PayPal’s ROGs”) at ROG 6.) Moreover, Plaintiff could
12   not point to any evidence that PayPal actively withheld information from her during its investigation when
13   given the opportunity at her deposition to do so. (Lee Dep. at 80:25-81:12.)
14          E.   Plaintiff Directs Her Anger and Frustration at Citibank, not PayPal.
15          During discovery, Plaintiff produced several series of text messages that she exchanged with
16   friends and acquaintances regarding the fraud incident. (Lee Dep. at 170:4–12, 173:24–174:9.)
17   Throughout these text messages, Plaintiff repeatedly expressed her anger, frustration, and ire at Citibank
18   exclusively, complaining that Citibank “refuse[d] to take any responsibility,” treated its customers in a
19   “heartless” manner, didn’t “give a shit,” had a “garbage” fraud department, and “claim[ed] no
20   responsibility or don’t care at fucking all.” (Atallah Decl. ¶ 13, Exhibit K, Lee Dep. Exh. 11 at
21   LEE002234, LEE002236, LEE002237, LEE002248, LEE002262.) She referred to Citibank as “assholes,”
22   “fucking assholes,” and “shittybank.” (Lee Dep. at 173:5–7, 174:13–175:5; Lee Dep. Exh. 11 at
23   LEE002232, LEE002250, LEE002252, LEE002254, LEE002255, LEE002262, LEE 002263.) To
24   summarize in her words, “I HATE shittybank!!!!” (Lee Dep. at 175:3–5; Lee Dep. Exh. 11 at LEE002263.)
25          In contrast to her anger, frustration, and hatred towards Citibank, zero of the text messages she
26   exchanged with her friends and acquaintances relating to the stolen funds expressed any anger, frustration,
27   or hatred towards PayPal. (See generally Lee Dep. Exh. 11.) At her deposition, Plaintiff attempted to
28   explain this away, claiming PayPal was not the focus of her frustration at the time because PayPal
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -5-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 16 of 35



 1   “pushed” her to focus her hatred on Citibank—but there is no evidence to support that conclusion. (Lee
 2   Dep. at 175:9–17.) Plaintiff also claimed at her deposition that PayPal caused her emotional distress and
 3   that she supposedly had text messages to support that assertion, yet admitted she had failed to preserve
 4   this supposed evidence prior to completing a factory reset on her phone in or around September 2021.
 5   (Lee Dep. at 47:17–48:5.) For the text conversations with friends and acquaintances that Plaintiff did save
 6   relating to the stolen funds—spanning from September 2021 to January 2022—none express or even hint
 7   at any semblance of emotional distress caused by PayPal. (See generally Lee Dep. Exh. 11.) Plaintiff’s
 8   attempts to bolster her allegations of emotional distress caused by PayPal, as well as her attempts to blame
 9   PayPal for her alleged losses, were even contradicted by her own testimony at an arbitration hearing
10   against Citibank mere weeks before her deposition in this case. At the arbitration hearing on April 16,
11   2024, Plaintiff responded to a question from Citibank’s counsel about her suit against PayPal, stating that
12   PayPal “wronged” her, but that it was “not even close to what Citi did.” (Atallah Decl. ¶ 14, Exhibit L,
13   Transcript of Arbitration Hearing (“Arbitration Transcript”) at 97:11–13.) And despite her strident claims
14   of emotional distress that PayPal allegedly caused her—which apparently are so great that they cannot be
15   valued (Lee Dep. at 71:9–14)—Plaintiff testified at the arbitration hearing she did not know whether she
16   was seeking emotional distress damages from PayPal. (Arbitration Transcript at 97:19–21.)
17          F.   Plaintiff Files Suit Against Citibank and PayPal.
18          On May 5, 2022, Plaintiff filed this action against Citibank and PayPal, asserting claims against
19   both defendants for violations of the federal EFTA and California’s UCL, as well as negligence and
20   conversion claims under California law. (ECF 1.) Plaintiff later filed an Amended Complaint on June 2,
21   2022. (ECF 11.) Pursuant to the parties’ stipulations, the Court stayed this action pending arbitration of
22   Plaintiff’s claims against Citibank and PayPal. (See ECF 19.) Plaintiff arbitrated her claims against
23   Citibank in a two-day hearing that occurred in April 2024. Plaintiff’s claims against PayPal were remanded
24   from arbitration and the Court then lifted the stay as to PayPal on September 14, 2023. (See ECF 32.)
25          G. Citibank is Ordered to Pay All of Plaintiff’s Alleged Damages.
26          Following a two-day arbitration hearing on April 16 and 17, 2024 between Plaintiff and Citibank,
27   a JAMS arbitrator awarded Plaintiff the following damages:
28         $20,550 in economic damages (presumably the amount of the stolen funds less $50);
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -6-
                Case 3:22-cv-02718-SK          Document 67     Filed 08/26/24      Page 17 of 35



 1             $625,000 in non-economic damages; and
 2             $1,000 in statutory damages.
 3   (Atallah Decl. ¶ 15, Exhibit M, Arbitration Award.) The arbitrator then trebled the actual damages award
 4   to $1,895,000 and indicated that punitive damages, costs, interest, and attorney fees would be determined
 5   and awarded in a second phase of the arbitration. (Id.) Therefore, in all likelihood, Plaintiff will recover
 6   well in excess of $2 million from Citibank when punitive damages and attorney fees are determined—all
 7   on a claim involving an out-of-pocket loss of $20,600.
 8   III.       LEGAL STANDARD
 9              Under Rule 56 of the Federal Rules of Civil Procedure, “[a] party may move for summary
10   judgment, identifying each claim or defense—or the part of each claim or defense—on which summary
11   judgment is sought.” Fed. R. Civ. P. 56(a). “The court shall grant summary judgment if the movant shows
12   that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter
13   of law.” Fed. R. Civ. P. 56(a). In addition, a court may adjudicate portions of a claim or defense. See Fed.
14   R. Civ. P. 56(a); see also Wang Labs., Inc. v. Mitsubishi Elecs. Am., Inc., 860 F. Supp. 1448, 1450 (C.D.
15   Cal. 1993). This adjudicatory power extends to particular issues or other material facts within a claim or
16   defense. See Fed. R. Civ. P. 56(g).
17              Once the moving party demonstrates a lack of a genuine issue of material fact, the nonmoving
18   party must set forth specific evidence showing that there remains a genuine issue for trial. Anderson v.
19   Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). A nonmoving party cannot merely rest upon its allegations
20   or denials in its pleading as a basis for demonstrating a genuine triable issue. Id. Conclusory or speculative
21   testimony is insufficient to defeat summary judgment. See Cafasso, U.S. ex rel. v. Gen. Dynamics C4 Sys.,
22   Inc., 637 F.3d 1047, 1061 (9th Cir. 2011). Instead, the responding party must present admissible evidence
23   sufficient to resolve the issue in its favor. Fed. R. Civ. P. 56(c); see Anderson, 477 U.S. at 248–49; Hal
24   Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1550 (9th Cir. 1989). The nonmoving party’s
25   failure to raise a genuine issue of material fact for trial requires granting summary judgment in favor of
26   the movant. Fed. R. Civ. P. 56(e)(3). In actions, like this one, where a court with federal question
27   jurisdiction is “exercising supplemental jurisdiction over state law claims,” the court “is bound to apply
28   the law of the forum state,” as to substantive issues including the elements of the causes of action, measure
                                 DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                  Case No. 3:22-CV-02718-SK
                                               -7-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 18 of 35



 1   of damages, and applicable defenses. Seoul Semiconductor Co. v. Finelite, Inc., 694 F. Supp. 3d 1199,
 2   1207 (N.D. Cal. 2023).
 3   IV.    ARGUMENT
 4          A. EFTA Claim
 5          Plaintiff’s first claim—brought under the federal Electronic Fund Transfer Act (15 U.S.C. §§ 1693,
 6   et seq.)—fails because it is undisputed that it was the unauthorized third party, and not Plaintiff, who
 7   exclusively created, controlled, and accessed the Unauthorized Account. Because the Unauthorized
 8   Account did not belong to Plaintiff, PayPal had no duties to Plaintiff under the EFTA and Regulation E 3
 9   with respect to the Unauthorized Account.
10          1. The EFTA and Regulation E Do Not Apply to the Unauthorized Account.
11          Plaintiff specifically contends that PayPal violated Sections 1693f and 1693g(a) of the EFTA. (See
12   ECF 11, ¶¶ 71, 73, 78–79.) Under Section 1693f, if a consumer notifies a financial institution that their
13   consumer account with the financial institution contains an error, the institution must investigate the
14   alleged error, determine whether an error has occurred, and report the results of its investigation to the
15   consumer within ten business days. See 15 U.S.C. § 1693f(a). If an error is found, the institution must
16   correct it, id. § 1693f(b); however, the institution can also provisionally credit the consumer’s account in
17   the interim if further investigation is need. Id. § 1693f(c). As relevant here, under Section 1693f, an error
18   consists of: “(1) an unauthorized electronic fund transfer” or “(2) an incorrect electronic fund transfer
19   from or to the consumer’s account.” Id. (emphasis added). An “unauthorized electronic fund transfer” is
20   defined as “an electronic fund transfer from a consumer’s account initiated by a person other than the
21   consumer without actual authority to initiate such transfer and from which the consumer receives no
22   benefit….” 15 U.S.C. § 1693a(12) (emphasis added).
23          Section 1693g(a), by extension, sets limits on a consumer’s liability for unauthorized fund transfers
24   as well as exceptions to those limits. See Widjaja v. JPMorgan Chase Bank, N.A., 21 F.4th 579, 582 (9th
25   Cir. 2021). And like Section 1693f, it is limited to transfers “involving the consumer’s account.” 15 U.S.C
26   § 1693g(a)(2); id. § 1693g(a) (“A consumer shall be liable for any unauthorized electronic fund transfer
27
     3
28    Regulation E is the EFTA’s implementing regulation. See Nordberg v. Trilegiant Corp., 445 F. Supp.
     2d 1082, 1094 (N.D. Cal. 2006).
                              DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                          Case No. 3:22-CV-02718-SK
                                                 -8-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 19 of 35



 1   involving the account of such consumer….”) (emphasis added).
 2          Under both sections at issue here, the EFTA only imposes duties on a financial institution for
 3   fraudulent transfers involving the consumer’s account with that financial institution. This limitation is
 4   critical here because the PayPal account that received the Citibank transfers was not in fact Plaintiff’s
 5   account. Plaintiff cannot provide any evidence that the Unauthorized Account was her PayPal account,
 6   and has conceded the Unauthorized Account did not belong to her. (Lee Dep. at 60:11–15.) Plaintiff also
 7   repeatedly acknowledged that the Unauthorized Account was unauthorized (see ECF 11, ¶¶ 57a–c, 61,
 8   105b, f–g, 112), admitted that the unauthorized third party created it (Lee Dep. at 187:14–17), and
 9   admitted that she never logged into the account because she lacked the credentials (Lee Dep. at 187:8–
10   17). It is also undisputed that none of the stolen funds were ever transferred to or from Plaintiff’s Real
11   Account. (Lee Dep. at 60:11–19, 100:7–10.) While the unauthorized third party used some of Plaintiff’s
12   identifying information to create the Unauthorized Account, the third party had exclusive control over the
13   account. (Lee Dep. at 60:20–61:5.) Plaintiff was not aware of this account prior to the money being stolen,
14   did not access it, and had no control over it. Because the Unauthorized Account did not belong to Plaintiff,
15   PayPal had no duties under the EFTA with respect to the fraudulent transfers to that account.
16          That institutions like PayPal do not have duties under the EFTA with respect to fraudulently-
17   opened accounts is not a novel interpretation of the EFTA. Indeed, there is ample case law supporting that
18   conclusion. In other cases involving similar transfers from a plaintiff’s account to an unauthorized account
19   at the receiving institution, courts have roundly held that the EFTA does not apply because the plaintiff
20   never entered into a contractual agreement to open the unauthorized account.
21          For example, in Herrera v. TD Bank, N.A., the plaintiff claimed the defendant TD Bank violated
22   the EFTA after an unauthorized third party used her information to open a checking account at the bank
23   without her consent. See 682 F. Supp. 1271, 1273–74 (S.D. Fla. 2023). Concluding TD Bank did not
24   violate the EFTA, the court held that a prerequisite for a claim under Section 1693i of the EFTA is that
25   the plaintiff entered into an agreement with a financial institution for an account for electronic fund
26   transfer (“EFT”) services. Id. at 1276. The court so held because Section 1693i is limited to a “such
27   consumer’s account”—thus recourse under the EFTA is limited to account holders rather than consumers
28   more broadly. Id. And because the plaintiff did not assent to creating the unauthorized account, the bank
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -9-
            Case 3:22-cv-02718-SK           Document 67       Filed 08/26/24      Page 20 of 35



 1   had no liability under the EFTA. Id.
 2          Likewise, in factual circumstances strikingly similar to this case involving an EFTA claim against
 3   PayPal, the court in Dorsey v. U.S. Bank National Association held that PayPal was not liable under the
 4   EFTA after an unauthorized third party opened a PayPal account in the plaintiff’s name without his
 5   knowledge or consent. 2012 WL 13001917, at *4–6 (M.D. La. Apr. 2, 2012). Like Herrera, the court held
 6   that the EFTA did not apply because the “forged PayPal account [was] not a valid account belonging to
 7   Plaintiff.” Id. at *6. Instead, the EFTA only applies to an account “entered into between ... [t]he consumer
 8   and the financial institution.” Id. (citing 12 C.F.R. Pt. 205, Supp. I § 205.3). Further, in Marquess v.
 9   Pennsylvania State Employees Credit Union—which Herrera and Dorsey cited favorably—the Third
10   Circuit held that the credit union defendant did not have EFTA liability with respect to a fraudulently-
11   opened account which the plaintiff did not authorize. See 427 F. App’x 188 (3d Cir. 2011).
12          The upshot of Herrera, Dorsey, and Marquess is that entities like PayPal are not liable under the
13   EFTA with respect to unauthorized accounts, like the Unauthorized Account here at issue. And while
14   Herrera and Marquess involved Section 1693i the EFTA, that distinction is immaterial because Sections
15   1693f and 1693g(a), upon which Plaintiff relies, contain the same “consumer account” language. Compare
16   15 U.S.C. § 1693i(a) (“such consumer’s account”), with § 1693f(a)(2) (“the consumer’s account contains
17   an error”), § 1693f(c) (“provisionally recredit the consumer’s account”), § 1693f(f)(2) (“an incorrect
18   electronic fund transfer from or to the consumer’s account”), and § 1693a(12) (“the term ‘unauthorized
19   electronic fund transfer’ means an electronic fund transfer from a consumer’s account”).
20          Like the case law that firmly supports the inapplicability of the EFTA to PayPal here, Regulation
21   E (the EFTA’s implementing regulation) “applies to any electronic fund transfer that authorizes a financial
22   institution to debit or credit a consumer’s account….” 12 C.F.R. §1005.3(a) (emphasis added). The CFPB
23   has interpreted this to mean that Regulation E only applies to “an account for which an agreement for EFT
24   services to or from the account has been entered into between the consumer and the financial institution.”
25   12 C.F.R. Pt. 1005, Supp. I § 1005.3(a)(1)(i). 4 The CFPB’s interpretation of Regulation E’s applicability
26
     4
27     Except for a few narrow exceptions not implicated here, the Dodd-Frank Wall Street Reform and
     Consumer Protection Act transferred rulemaking authority under the EFTA from the Federal Reserve
28   Board to the CFPB. See 12 U.S.C. §§ 5514(d), 5581(b)(1); see also 15 U.S.C. § 1693b(a)(1) (granting
     rulemaking authority under EFTA to CFPB).
                              DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                            Case No. 3:22-CV-02718-SK
                                                   -10-
            Case 3:22-cv-02718-SK           Document 67        Filed 08/26/24      Page 21 of 35



 1   is identical to the Federal Reserve Board’s interpretation of the same,5 which Marquess and Dorsey relied
 2   on. See 427 Fed. App’x at *1; 2012 WL 13001917, at *5–6. That the EFTA’s implementing regulation
 3   would not apply to PayPal here further demonstrates why Plaintiff’s EFTA claim fails.
 4          Finally, the structure of the EFTA demonstrates the absurdity of Plaintiff’s allegations with respect
 5   to PayPal. Plaintiff claims PayPal violated the EFTA by failing to provisionally re-credit her account. (See
 6   ECF 11, ¶ 66). Section 1693f(c) requires financial institutions to provisionally credit accounts while
 7   investigating claims of transfer errors. But provisionally recrediting the account to which the funds were
 8   transferred by the unauthorized third party makes no sense, particularly given Plaintiff’s total lack of
 9   access to the account. Of course, Plaintiff was not without recourse here. It was Citibank’s responsibility
10   as the institution which maintained the account the unauthorized third party stole the money from to adhere
11   to the EFTA. Simply put, Plaintiff’s gripe is with Citibank, not PayPal.
12          2. Plaintiff’s Alleged Damages Cannot be Attributed to PayPal.
13          Because the EFTA does not apply, PayPal is not liable for any of the damages Plaintiff seeks. (See
14   ECF 11, Prayer for Relief ¶¶ e–h.) Moreover, even if Plaintiff’s faulty theory of liability were not an issue,
15   the damages she seeks from PayPal are unavailable to her because the EFTA does not provide for the
16   recovery of non-economic damages, and because Plaintiff seeks an unlawful double recovery.
17              a. The EFTA does not allow for recovery of emotional distress damages.
18          PayPal anticipates that Plaintiff will argue that the EFTA’s “actual damage” provision allows
19   litigants to recover non-economic damages like emotional distress. See 15 U.S.C. § 1693m(a)(1). She is
20   wrong. PayPal has conducted extensive research and was unable to find any cases holding that emotional
21   distress damages are available as “actual damages” under the EFTA. This Court should not be the first.
22          The U.S. Supreme Court has observed that the term “actual damages” has a “chameleon-like
23   quality” that has varied meanings throughout the U.S. Code. FAA v. Cooper, 566 U.S. 284, 294 (2012).
24   So, to discern its meaning, it is critical to “consider the particular context in which the term appears.” Id.
25   For at least two reasons, the EFTA’s context shows that Congress did not intend to allow for recovery of
26

27   5
       See 12 C.F.R. Pt. 205, Supp. I § 205.3(a)(1)(i) (“The requirements of the regulation apply only to an
28   account for which an agreement for EFT services to or from the account has been entered into between
     the consumer and the financial institution….”)
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                               Case No. 3:22-CV-02718-SK
                                                      -11-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 22 of 35



 1   emotional distress damages under the Act.
 2          First, the EFTA’s purpose is to “provide a basic framework establishing the rights, liabilities, and
 3   responsibilities of participants in electronic fund and remittance transfer systems.” 15 U.S.C. § 1693(b).
 4   The harms the EFTA is intended to prevent are purely economic, as Congress designed it to protect
 5   consumers from incurring pecuniary losses due to unauthorized fund transfers. That makes it quite unlike
 6   other statutes such as the Fair Credit Reporting Act (“FCRA”) or the Fair Housing Act (“FHA”), where
 7   courts have interpreted their “actual damages” language to include nonpecuniary harms, like emotional
 8   distress, that are difficult to quantify. See FAA, 132 U.S. at 292–93. For instance, in the FCRA, Congress’s
 9   aim was to prevent non-economic injuries to consumers like harms to their “character,” “general
10   reputation,” and “right to privacy.” 15 U.S.C. § 1681(a)(2), (4). The harms that Congress sought to address
11   in the FHA—namely, discrimination in the sale or rental of housing—are likewise non-economic. See 42
12   U.S.C. § 3604. The EFTA is instead analogous to federal statutes aimed at compensating purely economic
13   losses, like the Securities Exchange Act of 1934, which the Ninth Circuit has held only allows for recovery
14   of economic losses as actual damages. See Ryan v. Foster & Marshall, Inc., 556 F.2d 460, 464 (9th Cir.
15   1977) (“Actual damages mean some form of economic loss.”); see also Osofsky v. Zipf, 645 F.2d 107, 111
16   (2d Cir. 1981) (noting purpose of the Act’s actual damages provision “is to compensate civil plaintiffs for
17   economic loss suffered as a result of wrongs committed in violation of the 1934 Act”).
18          Second, the linguistic structure of the EFTA—specifically, the contrasting damages language in
19   Section 1693h versus Section 1693m—further illustrates that actual damages do not encompass emotional
20   distress damages.6 Section 1693m(a) states that a failure to comply with the EFTA renders the violator
21   liable for “any actual damage sustained by such consumer as a result of such failure.” In contrast, Section
22   1693h(a)’s much broader damages provision states “a financial institution shall be liable to a consumer
23   for all damages proximately caused by” the failure to make authorized fund transfers or a consumer’s stop
24   payment for a preauthorized transfer. Id. (emphasis added). Moreover, 1693h(c) states that for
25

26   6
       Plaintiff cannot seek damages under Section 1693h because that section is only implicated when a
27   financial institution failed to make an electronic fund transfer or failed to stop a preauthorized fund
     transfer when instructed to do so. See 15 U.S.C. § 1693h(a)(1)–(3). None of the transfers here meet
28   those requirements.

                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -12-
             Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24       Page 23 of 35



 1   unintentional violations of subsection (a), a financial institution is only liable for “actual damages.” Taking
 2   1693h(c) and 1693m(a) together shows that “actual damages” encompasses a narrower category of
 3   damages than “all damages proximately caused by” under the EFTA. It thus follows that actual damages
 4   are limited to economic losses. See Russello v. United States, 464 U.S. 16, 23 (1983) (“Where Congress
 5   includes particular language in one section of a statute but omits it in another section of the same Act, it
 6   is generally presumed that Congress acts intentionally and purposely in the disparate inclusion or
 7   exclusion.”) (cleaned up). Accordingly, Plaintiff’s alleged non-economic damages are not recoverable as
 8   “actual damages” under the EFTA.
 9              b. Plaintiff seeks unlawful double recovery from PayPal.
10           Under federal and California law, well-settled legal principles prevent plaintiffs from receiving
11   duplicative recovery of damages.7 See Uthe Tech. Corp. v. Aetrium, Inc., 808 F.3d 755, 760 (9th Cir.
12   2015); Tavaglione v. Billings, 847 P.2d 574, 580 (Cal. 1993), as modified (Apr. 28, 1993) (“Double or
13   duplicative recovery for the same items of damage amounts to overcompensation and is therefore
14   prohibited.”). The one satisfaction rule “reflects the equitable principle that a plaintiff who has received
15   full satisfaction of its claims from one tortfeasor generally cannot sue to recover additional damages
16   corresponding to the same injury from the remaining tortfeasors.” Uthe, 808 F.3d at 760. “[T]he animating
17   purpose of the one satisfaction rule is to prevent double recovery and unjust enrichment.” Id. at 761.
18           Despite these well-settled principles, Plaintiff seeks an unlawful—and frankly, outrageous—
19   double recovery from PayPal. In her arbitration with Citibank involving the same claims and conduct at
20   issue here, Plaintiff was awarded:
21          $20,550 in economic damages (presumably the amount of the stolen funds less $50);
22          $625,000 in non-economic damages;
23          $1,000 in statutory damages; and
24          punitive damages, costs, interest, and attorney fees to be determined in a second phase.
25
     7
26     Although PayPal addresses these principles in its argument on Plaintiff’s EFTA claim, California law
     equally bars her from seeking double recovery from PayPal for any of her three state law claims.
27   Because the Ninth Circuit has held that the federal law of damages applies to federal causes of action,
     see Uthe, 808 F.3d at 760 n.3, it follows that the California law of damages applies to Plaintiff’s state
28   law causes of action.

                                DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                 Case No. 3:22-CV-02718-SK
                                              -13-
            Case 3:22-cv-02718-SK           Document 67        Filed 08/26/24       Page 24 of 35



 1   (See Arbitration Award.) The arbitrator then trebled the actual damages award to $1,895,000 8 (id.)—for a
 2   case where Plaintiff had lost $20,600 due to fraudulent conduct perpetrated by neither Citibank nor PayPal.
 3   Without even accounting for the additional amounts the arbitrator intends to award, Plaintiff has received
 4   a damages award more than ninety times greater than her out-of-pocket loss.
 5          Through the arbitration against Citibank, Plaintiff has been compensated at least three times over
 6   for all of her claimed economic and emotional distress damages (despite their lack of recoverability in this
 7   context), as well as her costs, interest, and attorney fees. To allow Plaintiff to recover those same damages
 8   from PayPal is unconscionable and offends all notions of equity and justice. The Court should squarely
 9   reject Plaintiff’s attempts to obtain an unfair and unlawful double recovery.
10          B. UCL Claim
11          Plaintiff’s claim for violation of California’s Unfair Competition Law, Cal. Bus. & Profs. Code §§
12   17200 et seq., fails for two reasons, either of which is sufficient to grant summary judgment. First, Plaintiff
13   cannot prevail on this claim because she is not entitled to any of the limited remedies available to plaintiffs
14   in private actions under the UCL. Second, she cannot show that PayPal engaged in any act or practice that
15   is “unlawful,” “unfair,” or “fraudulent.”
16          1. Plaintiff is Not Entitled to Either of the Limited Remedies Available Under the UCL.
17          “While the scope of conduct covered by the UCL is broad, its remedies are limited. A UCL action
18   is equitable in nature; damages cannot be recovered.” Korea Supply Co. v. Lockheed Martin Corp., 63
19   P.3d 937, 943 (Cal. 2003); accord In re Meta Pixel Tax Filing Cases, 2024 WL 1251350, at *23 (N.D.
20   Cal. Mar. 25, 2024). Summary judgment is appropriate on Plaintiff’s UCL claim because she is not entitled
21   to either of the limited remedies available to private plaintiffs in UCL actions. See Fresno Motors, LLC v.
22   Mercedes Benz USA, LLC, 771 F.3d 1119, 1135 (9th Cir. 2014) (holding defendant was entitled to
23   summary judgment on UCL claim when plaintiffs had no remedy under the UCL as they did “not seek
24   injunctive relief and [had] no claim for restitution”).
25          “Prevailing plaintiffs are generally limited to injunctive relief and restitution. Plaintiffs may not
26   receive damages, much less treble damages, or attorney fees.” Cel-Tech Commc’ns, Inc. v. Los Angeles
27
     8
28    It is unclear how the arbitrator calculated this amount as trebling the actual damage award yields
     $1,936,650.
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                                 Case No. 3:22-CV-02718-SK
                                                       -14-
            Case 3:22-cv-02718-SK           Document 67        Filed 08/26/24       Page 25 of 35



 1   Cellular Tel. Co., 973 P.2d 527, 539 (Cal. 1999). “Compensatory damages are not recoverable as
 2   restitution.” Zhang v. Superior Ct., 304 P.3d 163, 168 (Cal. 2013) (brackets and citation omitted). The
 3   prohibition against recovering damages under the UCL necessarily encompasses Plaintiff’s request for
 4   non-economic damages, such as those for emotional distress. See Kwikset Corp. v. Superior Ct., 246 P.3d
 5   877, 885 (Cal. 2011) (noting plaintiff “must demonstrate some form of economic injury” to proceed under
 6   UCL); accord In re Google Assistant Priv. Litig., 546 F. Supp. 3d 945, 970 (N.D. Cal. 2021). “In a private
 7   action under the unfair competition law”—such as this one—“the only monetary remedy available is
 8   restitution.” Ngu v. City Bail Bonds, 71 Cal. App. 5th 644, 651 (2021). “For the purposes of requesting
 9   injunctive relief, a party does not have standing unless it is able to show a ‘real or immediate threat that
10   [it] will be wronged again.’” Hightower v. City & Cnty. of San Francisco, 77 F. Supp. 3d 867, 886 (N.D.
11   Cal. 2014) (quoting City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983)).
12          Because Plaintiff’s potential remedies are limited to restitution and injunctive relief, she cannot
13   recover most of the relief she seeks in this matter including non-economic damages, treble damages, or
14   attorney fees. (See generally ECF 11, Amended Complaint, Prayer for Relief.) The only monetary award
15   she could theoretically recover is $20,600 as restitution for the funds that the unauthorized third party stole
16   from her. See Fresno Motors, 771 F.3d at 1135 (“The restitutionary relief is limited to money or property
17   lost by the plaintiff and acquired by the defendant.”). But even that remedy is unavailable to her because
18   PayPal did not “acquire” the stolen funds—and because that amount has already been restored to her
19   through the arbitration award against Citibank.
20              a. Plaintiff cannot meet the elements of a UCL restitution claim.
21          “In order to establish an entitlement to restitution under the UCL, a plaintiff must show: (1) that
22   she had at one time ‘an ownership interest’ in the money or property she ‘lost’ and (2) that money or
23   property must have been ‘acquired’ by the defendant.” Kanji v. Bank of Am., N.A., 2020 WL 8175548, at
24   *7 (C.D. Cal. Aug. 25, 2020) (citing Kwikset Corp. v. Superior Court, 246 P.3d 877, 895 (Cal. 2011)).
25   There is no possible way for Plaintiff to show that PayPal acquired any portion of the $20,600 that the
26   unauthorized third party stole from her, as she admits that the third party stole all of the funds (see ECF
27   11, ¶ 61), and the evidence reflects that the third party removed all of the funds from the Unauthorized
28   Account. There is no evidence that PayPal retained any of those funds (because it has not).
                                DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                 Case No. 3:22-CV-02718-SK
                                              -15-
            Case 3:22-cv-02718-SK           Document 67        Filed 08/26/24       Page 26 of 35



 1          Numerous federal courts in California, including in this district, have held that a defendant does
 2   not “acquire” money from the plaintiff—and therefore cannot satisfy a necessary element of restitution
 3   under the UCL—when a third party stole and kept the money. See, e.g., Sparkman v. Comerica Bank,
 4   2023 WL 8852487, at *9 (N.D. Cal. Dec. 21, 2023); Kanji, 2020 WL 8175548, at *7; Lusinyan v. Bank
 5   of Am., N.A., 2015 WL 12777225, at *5 (C.D. Cal. May 26, 2015). That is exactly the scenario here.
 6   Plaintiff cannot establish a right to restitution when it is undisputed that PayPal has not retained any of the
 7   stolen funds. Even setting aside Plaintiff’s inability to satisfy the “acquired by” element of a UCL
 8   restitution claim, Plaintiff cannot obtain restitution from PayPal because she was already made whole in
 9   her arbitration with Citibank. (See Arbitration Award.) Consequently, Plaintiff has no uncompensated
10   losses upon which to base a claim for restitution from PayPal. The purpose of restitution is to make a party
11   whole, not award them with a windfall or “double” recovery on top of already tripled economic damages.
12   See Benn v. Allstate Ins. Co., 569 F. Supp. 3d 1029, 1036 (C.D. Cal. 2021) (“The object of restitution is
13   to restore the status quo by returning to the plaintiff funds in which he or she has an ownership interest.”);
14   see also Section A.2.b., supra.
15              b. Plaintiff lacks standing to seek injunctive relief.
16          Moving to Plaintiff’s request for injunctive relief—the only other remedy available to UCL
17   plaintiffs—she lacks standing to seek this relief. Plaintiff cannot present any evidence to even hint that
18   there is a “certainly impending” injury that PayPal will cause her or a “substantial risk” that PayPal will
19   harm her in the future. Phillips v. U.S. Customs & Border Prot., 74 F.4th 986, 991 (9th Cir. 2023). “A
20   plaintiff must demonstrate standing separately for each form of relief sought,” id. (cleaned up), and must
21   do so at each “successive stage” of litigation—including at summary judgment. DZ Rsrv. v. Meta
22   Platforms, Inc., 96 F.4th 1223, 1240 (9th Cir. 2024).
23          Plaintiff has no evidence that demonstrates she meets these exacting standing requirements. The
24   genesis of this dispute was the theft of funds by an unauthorized third party, and it is undisputed that
25   PayPal played no role in perpetrating that fraud. To the contrary, PayPal cooperated with Plaintiff in
26   gathering and turning over information that Plaintiff found helpful to the pursuit of her stolen funds from
27   Citibank. The full extent of PayPal’s involvement here is that the unauthorized third party happened to
28   choose a PayPal account that they fraudulently created and controlled as the medium for transferring and
                                DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                 Case No. 3:22-CV-02718-SK
                                              -16-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 27 of 35



 1   later withdrawing the stolen funds. There is certainly no evidence of a real or immediate threat of Plaintiff
 2   having funds stolen from her Citibank account again, transferred to a fraudulently-created PayPal account,
 3   and then subsequently drained from that account. In the absence of that showing, Plaintiff lacks standing
 4   to pursue injunctive relief against PayPal. See Hightower, 77 F. Supp. 3d at 886.
 5          Because Plaintiff has no right to restitution or standing to pursue injunctive relief—the only
 6   remedies available under the UCL—PayPal is entitled to summary judgment on the UCL claim. See
 7   Fresno Motors, LLC, 771 F.3d at 1135.
 8          2. PayPal’s Conduct was Not Unlawful, Unfair, or Fraudulent.
 9          Although Plaintiff’s inability to obtain either restitutionary or injunctive relief against PayPal is
10   sufficient to doom her UCL claim, there is also no evidence to support her allegations that PayPal’s
11   conduct was unlawful, unfair, and/or fraudulent.
12          Starting with the unlawful prong, Plaintiff must prove PayPal’s actions violated another
13   “borrowed” law. Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1168 (9th Cir. 2012) (citation
14   omitted). The borrowed law Plaintiff relies on here is the EFTA. (See ECF 11, Amended Complaint, ¶
15   85.) Because her EFTA claim fails for the reasons explained in Section A.1., the “unlawful” prong of her
16   UCL claim necessarily fails too. See Jones v. Micron Tech. Inc., 400 F. Supp. 3d 897, 923 (N.D. Cal.
17   2019) (noting UCL claim for unlawful behavior fails if underlying claim fails).
18          For claims of unfair business practices involving consumers, courts apply two tests. 9 The first
19   asks whether a business practice “offends an established public policy or when the practice is immoral,
20   unethical, oppressive, unscrupulous or substantially injurious to consumers.” Hodsdon v. Mars, Inc., 162
21   F. Supp. 3d 1016, 1026 (N.D. Cal. 2016); accord Hodsdon v. Mars, Inc., 891 F.3d 857, 866–67 (9th Cir.
22   2018). The second asks whether the UCL claim is “tethered to some specific constitutional, statutory, or
23   regulatory provisions.” Hodsdon, 162 F. Supp. 3d at 1027. Plaintiff cannot satisfy either test.
24          Under the first test, there is no evidence that PayPal has an established practice of purposefully
25   failing to investigate claims of fraud or to freeze accounts that hold stolen funds. When given the
26   opportunity to provide evidence of wrongdoing at her deposition, Plaintiff could not point to any evidence
27
     9
28     Some courts apply a third test borrowed from Section 5 of the Federal Trade Commission Act, but that
     test does not apply in consumer cases. See Hodsdon, 162 F. Supp. 3d at 1027 n.5.
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                              Case No. 3:22-CV-02718-SK
                                                    -17-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 28 of 35



 1   that PayPal actively withheld information from her during its investigation. (Lee Dep. at 80:25-81:12.)
 2   Contrary to Plaintiff’s unfounded contentions, the evidence shows that PayPal’s actions were anything
 3   but immoral, unethical, oppressive, unscrupulous, or substantially injurious to Plaintiff. Indeed, before
 4   filing this lawsuit, Plaintiff praised PayPal for thoroughly investigating her claims. Even as recently as a
 5   few months ago, she minimized PayPal’s role relative to Citibank. (Lee Dep. at 167:17–168:17; Lee Dep.
 6   Exh. 10 at LEE000178; Arbitration Transcript at 97:11–13 (“[PayPal] wronged me, but I feel like it’s –
 7   it’s not even close to what Citi did.”).) On numerous phone calls with Plaintiff, PayPal team members
 8   tried to locate the Unauthorized Account but could not because Plaintiff did not provide sufficient
 9   information about it. However, as soon as PayPal received the documents included with Plaintiff’s CFPB
10   complaint that provided the necessary information, PayPal quickly moved to freeze the Unauthorized
11   Account and provided Plaintiff additional information on her claim. PayPal’s actions were not unfair.
12          As for the second test, Plaintiff does not even attempt to plead in her Complaint that PayPal’s
13   allegedly unfair conduct was tethered to a specific constitutional, statutory, or regulatory provision. (See
14   ECF 11, ¶¶ 89–101.) And, even if she had, PayPal already explained in Section A.1. why Plaintiff’s claim
15   under the EFTA is not viable. Plaintiff’s claim under the “unfair” prong of the UCL thus fails.
16          Finally, Plaintiff cannot point to any evidence that PayPal engaged in fraudulent business
17   practices. Under the UCL’s fraudulent prong, a violation occurs if a party engages in a practice that is
18   “likely to deceive the public.” Nia v. Bank of Am., N.A., 2024 WL 1298004, at *25 (S.D. Cal. Mar. 26,
19   2024). While Plaintiff’s allegations regarding PayPal’s supposedly “fraudulent” conduct are vague (see
20   ECF, ¶ 105), she seemed to suggest at her deposition and in her responses to written discovery requests
21   that it was PayPal’s failure to properly investigate her claims of fraud. (See ECF 11, ¶ 105; Lee Dep. at
22   82:3-13; Pltf.’s Responses to PayPal’s ROGs at ROG 6.) She also suggested that PayPal lied to her in
23   conducting its investigation by withholding information from her. (Lee Dep. at 80:9-24.) But Plaintiff has
24   no evidence of this supposedly fraudulent conduct, nor can she identify any specific statements from
25   PayPal that were untrue—much less, fraudulent—at the time they were made. (The absence of a fraud
26   claim in Plaintiff’s Complaint is telling, as there are no credible allegations that would support such a
27   claim.) Moreover, when given the opportunity to point to specific examples of instances where PayPal
28   actively withheld information from her, Plaintiff could not. (See Lee Dep. at 80:25-81:12.) Instead,
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -18-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 29 of 35



 1   Plaintiff could only offer conjecture and her own feelings that PayPal intentionally withheld information
 2   from her and “gaslit” her. (Lee Dep. at 26:19; 82:3-7.) Plaintiff’s unsubstantiated speculation and feelings
 3   are not evidence, and do not create a genuine factual dispute that would allow her claim under the
 4   “fraudulent” prong of the UCL to survive summary judgment. See Nelson v. Pima Cmty. Coll., 83 F.3d
 5   1075, 1081–82 (9th Cir. 1996) (“[M]ere allegation and speculation do not create a factual dispute for
 6   purposes of summary judgment.”). For these reasons, PayPal respectfully requests that the Court grant
 7   summary judgment in PayPal’s favor on Plaintiff’s UCL claim.
 8          C. Negligence Claim
 9          Plaintiff’s negligence claim against PayPal is also ripe for summary judgment. “To prevail in a
10   negligence action, a plaintiff must establish the defendant owed a legal duty, the defendant breached that
11   duty, and the breach proximately caused the plaintiff’s damages. Absent a legal duty, any injury is an
12   injury without actionable wrong. Duty, being a question of law, is particularly amenable to resolution by
13   summary judgment.” Archer v. Coinbase, Inc., 53 Cal. App. 5th 266, 278 (2020) (cleaned up); see
14   Makhzoomi v. Sw. Airlines Co., 419 F. Supp. 3d 1136, 1159 (N.D. Cal. 2019). Plaintiff cannot prove any
15   of these elements are met here.
16          1. Plaintiff Cannot Establish PayPal Owed Her a Legal Duty in Connection with the
17              Investigation of Transactions Involving a PayPal Account that Did Not Belong to Her.
18          “Recovery in a negligence action depends as a threshold matter on whether the defendant had a
19   duty to use due care toward an interest of the plaintiff’s that enjoys legal protection against unintentional
20   invasion.” Kurtz-Ahlers, LLC v. Bank of Am., N.A., 48 Cal. App. 5th 952, 955 (2020) (cleaned up). No
21   duty means no cause of action, and “absent a duty, the defendant’s care, or lack of care, is irrelevant.”
22   Software Design & Application, Ltd. v. Hoefer & Arnett, Inc., 49 Cal. App. 4th 472, 482 (1996).
23          Plaintiff’s negligence claim stumbles out of the gate because she cannot establish PayPal owed her
24   a duty. Under California law, banks generally do not owe a fiduciary duty of care to customers. See Das
25   v. Bank of Am., N.A., 186 Cal. App. 4th 727, 741 (2010) (“[T]he relationship between a bank and its
26   depositor is not fiduciary in character.”). Nor do banks generally owe a fiduciary duty to noncustomers.
27   See Software Design, 49 Cal. 4th at 479; Attisha Enterprises, Inc. v. Cap. One, N.A., 505 F. Supp. 3d 1051,
28   1056 (S.D. Cal. 2020). Banks also have no duty with respect to the withdrawal from an account. See
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -19-
            Case 3:22-cv-02718-SK           Document 67         Filed 08/26/24    Page 30 of 35



 1   Software Design, 49 Cal. App. 4th at 481 (rejecting the argument that bank was negligent in case involving
 2   theft of funds because there was no authority that it had a duty to supervise account activity).
 3           In rejecting negligence claims, California courts have held that the plaintiff failed to satisfy the
 4   duty element of that cause of action when they did not have a fiduciary relationship with the financial
 5   institution for the account at issue. See, e.g., Kurtz-Ahlers, 48 Cal. App. 5th at 959 (concluding bank did
 6   not have a duty to a depositor to investigate fraudulent activity in a separate depositor’s account and
 7   dismissing negligence claim); id. at 962 (“In sum, we conclude overriding policy considerations preclude
 8   the existence of an ‘intra-bank’ monitoring duty under general tort principles.”) (quotation marks omitted);
 9   Casey v. U.S. Bank Nat. Ass’n, 127 Cal. App. 4th 1138, 1150–52 (2005) (concluding no duty to police
10   account activity); Chazen v. Centennial Bank, 61 Cal. App. 4th 532, 537 (1998) (holding no duty “to
11   supervise account activity” or “police their fiduciary accounts” and “no contractual obligation to persons
12   other than the account holder”). In Casey, the court even held that a financial institution’s knowledge of
13   suspicious account activities “without more”—i.e., knowingly assisting the fraudulent scheme—did “not
14   give rise to tort liability.” 127 Cal. App. 4th at 1151.
15           Given this overwhelming authority, if banks do not have a duty to non-account holders to
16   investigate suspicious account activity, even if they have knowledge of it, then PayPal—which, as a
17   payment service provider, offers narrower services than a bank—surely does not. Indeed, at least one court
18   has held just that, concluding that PayPal did not have fiduciary duty to the plaintiff and citing a decision
19   from the California Court of Appeal for support. See Maynard v. PayPal, Inc., 2019 WL 3552432, at *6
20   (N.D. Tex. Aug. 5, 2019) (citing McCann v. Lucky Money, Inc., 129 Cal. App. 4th 1382 (2005)). In
21   McCann, the court concluded a money transmitter did not have a fiduciary duty to its customers. 129 Cal.
22   App. 4th at 1398–99. PayPal’s services are analogous to those offered by the money transmitter in
23   McCann, and the Court should therefore similarly hold that PayPal had no duty here. See also Kurtz-
24   Ahlers, 48 Cal. App. 5th at 960 (“Case law has long recognized the significant public policies underlying
25   the rule a bank owes no duty to nondepositors to investigate or disclose suspicious activities on the part
26   of an account holder.”) (cleaned up); Casey, 127 Cal. App. 4th at 1151.
27           Moreover, even if the Court was convinced that PayPal did have a duty here, the economic loss
28   doctrine bars Plaintiff’s negligence claim. In Hobbs by & through Hobbs v. Wells Fargo Bank, National
                                DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                 Case No. 3:22-CV-02718-SK
                                              -20-
            Case 3:22-cv-02718-SK           Document 67        Filed 08/26/24      Page 31 of 35



 1   Association, the court noted: “Multiple courts have applied the economic loss rule to bar a plaintiff’s claim
 2   against a bank arising from fraudulent activity.” 2022 WL 17972163, at *4 (S.D. Cal. Sept. 14, 2022)
 3   (collecting cases applying California law). This include negligence claims involving allegations of
 4   emotional distress, as was the case in Hobbs. See id.
 5          2. Even if Plaintiff Could Establish a Legal Duty, PayPal Did Not Breach It.
 6          Assuming arguendo that PayPal did have a duty to investigate Plaintiff’s claims of fraud, the
 7   undisputed evidence shows that it did. For undisputed evidence that PayPal thoroughly investigated
 8   Plaintiff’s claim, the Court need look no further than that exact assessment of PayPal’s efforts made by
 9   Plaintiff. In an email to PayPal after it responded to her CFPB complaint, Plaintiff thanked PayPal for
10   “thoroughly investigat[ing]” her claims of fraud, while also expressing that PayPal seemed like the only
11   place where she could get information. (Lee Dep. at 167:17–168:17; Lee Dep. Exh. 10 at LEE000178.)
12   By Plaintiff’s own contemporaneous statements, PayPal was helpful—not responsible for her mountain
13   of alleged losses. Moreover, PayPal promptly located and froze the Unauthorized Account as soon as it
14   received enough information from Plaintiff to locate it. (Lee Dep. Exh. 8.)
15          3. PayPal’s Conduct is Not the Proximate Cause of Plaintiff’s Injuries.
16          Proximate cause has two aspects. State Dep’t of State Hosps. v. Superior Ct., 349 P.3d 1013, 1021
17   (Cal. 2015). The first is cause in fact, sometimes called but-for causation. Id. “An act is a cause in fact if
18   it is a necessary antecedent of an event.” Id. (citation omitted). “The second aspect of proximate cause
19   focuses on public policy considerations.” Id. at 1022. “Thus, proximate cause is ordinarily concerned, not
20   with the fact of causation, but with the various considerations of policy that limit an actor’s responsibility
21   for the consequences of his conduct….Rules of legal cause operate to relieve the defendant whose conduct
22   is a cause in fact of the injury, where it would be considered unjust to hold him or her legally responsible.”
23   Id. (cleaned up).
24          Here, PayPal is not the proximate cause of Plaintiff’s losses. It is undisputed that the unauthorized
25   third party was the sole mastermind of the theft and that PayPal was not involved in perpetrating the
26   scheme. And while Plaintiff alleges that PayPal failed to properly investigate, even she minimizes PayPal
27   role in this matter. (See Arbitration Transcript at 97:11–13 (“[PayPal] wronged me, but I feel like it’s –
28   it’s not even close to what Citi did.”).) Holding PayPal responsible as the proximate cause of Plaintiff’s
                                DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                 Case No. 3:22-CV-02718-SK
                                              -21-
            Case 3:22-cv-02718-SK          Document 67        Filed 08/26/24      Page 32 of 35



 1   alleged harms is unjust and poor policy because it was the unauthorized third party who masterminded
 2   this theft, and Plaintiff herself has downplayed PayPal’s culpability. Plaintiff’s allegations that PayPal
 3   caused to her suffer emotional distress by failing to conduct a proper investigation are nothing more than
 4   a convenient, post-hoc litigating position that conflicts with her own contemporaneous statements to
 5   PayPal thanking the company for “taking the time to thoroughly investigate my case.” Given the evidence,
 6   no reasonable jury could conclude PayPal proximately caused Plaintiff’s alleged injuries.
 7          4. Plaintiff Cannot Establish She Has Any Damages.
 8          Finally, Plaintiff cannot prove she has any damages because all of her alleged losses have already
 9   been compensated. See Section A.2.b. supra. With respect to her alleged emotional distress damages
10   specifically, the evidence clearly shows that Plaintiff was appreciative of PayPal’s efforts and placed her
11   blame solely on Citibank. Her claims of emotional distress now are simply a post-hoc litigating position.
12          D. Conversion Claim
13          Finally, Plaintiff’s conversion claim fails because she cannot prove any of the necessary elements:
14   “(1) the plaintiff’s ownership or right to possession of the property; (2) the defendant’s conversion by a
15   wrongful act or disposition of property rights; and (3) damages.” Lee v. Hanley, 354 P.3d 334, 344 (Cal.
16   2015). “California cases permitting an action for conversion of money typically involve those who have
17   misappropriated, commingled, or misapplied specific funds held for the benefit of others.” Miller v. Bank
18   of Am., N.A., 2022 WL 3704093, at *4 (E.D. Cal. Aug. 26, 2022) (citation omitted).
19          On the first element, California law is well-settled that a claim against a bank for conversion fails
20   because the title to funds passes immediately to the bank upon deposit, and thus the bank, not the customer,
21   owns the funds. Crocker-Citizens Nat. Bank v. Control Metals Corp., 566 F.2d 631, 637 (9th Cir. 1977),
22   abrogated on other grounds by Hollinger v. Titan Cap. Corp., 914 F.2d 1564 (9th Cir. 1990); Miller, 2022
23   WL 3704093, at *4. With respect to the second element, the defendant’s conduct “must be knowingly
24   done,” and “neither negligence, active or passive, nor a breach of contract, even though it results in injury
25   to, or loss of, specific property, constitutes a conversion.” Berry v. Frazier, 90 Cal. App. 5th 1258, 1271
26   (2023) (cleaned up). In other words, “conversion requires affirmative action to deprive another of
27   property, not a lack of action.” Spates v. Dameron Hosp. Assn., 114 Cal. App. 4th 208, 222 (2003).
28          Here, it is undisputed that Plaintiff deposited her money into her Citibank Account. Under settled
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -22-
            Case 3:22-cv-02718-SK          Document 67       Filed 08/26/24      Page 33 of 35



 1   California law, Citibank, not Plaintiff, owned the funds that the unauthorized third party transferred to
 2   PayPal. Crocker-Citizens Nat. Bank, 566 F.2d at 637. Therefore, Plaintiff could not sustain a claim for
 3   conversion against Citibank, and by extension, PayPal. Because she did not have legal title to the
 4   transferred funds, her conversion claim fails as a matter of law. Miller, 2022 WL 3704093, at *4.
 5          Even assuming Plaintiff’s ownership of the funds, her conversion claim still fails because there is
 6   no evidence PayPal knowingly aided the unauthorized third party to steal the funds. Berry, 90 Cal. App.
 7   5th at 1271. Here, the unauthorized third party created the Unauthorized Account without Plaintiff’s
 8   authorization. PayPal, unaware of such conduct, acted pursuant to what it believed was lawful authority
 9   from a valid PayPal account holder. PayPal’s actions simply do not rise to the level of affirmative conduct
10   required to knowingly deprive Plaintiff of her property. See id. Moreover, even if, arguendo, PayPal did
11   not exercise due care in allowing the creation of a forged account or in permitting transfers to and from
12   said account, that alone cannot sustain any of Plaintiff’s claims. Id. Finally, Plaintiff cannot prove the
13   damages element of her conversion claim because her losses have already been compensated.
14          Other courts have found that an unauthorized third party’s transfer of funds from the plaintiff’s
15   bank account does not constitute conversion with respect to the institution that maintains the account. See
16   Dorsey, 2012 WL 13001917, at *10 (dismissing plaintiff’s conversion claim against PayPal where it was
17   the unauthorized third party who transferred plaintiff’s funds into a forged PayPal account and PayPal had
18   no knowledge of the fraud); see also Prignoli v. Bruczynski, 2021 WL 4443895, at *11 (E.D.N.Y. Sept.
19   28, 2021) (dismissing plaintiff’s conversion claim against bank where an unauthorized third party
20   transferred the funds); Big Red Box, LLC v. Square, Inc., 2020 WL 465928, at *9–10 (D.S.C. Jan. 22,
21   2020), report and recommendation approved in part sub nom. Big Red Box, LLC v. Tye Grisel, 2020 WL
22   5545283 (D.S.C. Sept. 16, 2020) (dismissing plaintiff’s conversion claim because Square’s receipt of
23   funds wrongfully converted by a third person was not conversion as a matter of law).
24          Ultimately, PayPal’s conduct does not give rise to a valid claim for conversion, and the Court
25   should award summary judgment to PayPal on this claim.
26   V.     CONCLUSION
27          For the foregoing reasons, PayPal respectfully requests that the Court grant summary judgment in
28   PayPal’s favor as to each of Plaintiff’s claims.
                               DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                Case No. 3:22-CV-02718-SK
                                             -23-
          Case 3:22-cv-02718-SK   Document 67    Filed 08/26/24     Page 34 of 35



 1   DATED: August 26, 2024              FOLEY & LARDNER LLP
                                         JOHN J. ATALLAH
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                                         BRYAN T. METTE
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 5                                       /s/ John J. Atallah
                                         John J. Atallah
 6                                       Attorneys for Defendant PayPal, Inc.

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                          DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                           Case No. 3:22-CV-02718-SK
                                        -24-
            Case 3:22-cv-02718-SK           Document 67        Filed 08/26/24      Page 35 of 35



 1                                       CERTIFICATE OF SERVICE
 2            I hereby certify that on August 26, 2024, I electronically filed DEFENDANT PAYPAL,
 3   INC.’S     NOTICE       OF    MOTION AND           MOTION        FOR     SUMMARY JUDGMENT;
 4   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF with the Clerk
 5   of the Court for the United States District Court for the Northern District of California, by using the
 6   Court’s CM/ECF system.
 7            Participants in the case who are registered CM/ECF users will be served by the Court’s
 8   CM/ECF system.
 9            I declare under penalty of perjury under the laws of the United States that the forgoing is true
10   and correct.
11            Executed on August 26, 2024, at Los Angeles, California.
12

13                                                           /s/ John J. Atallah
                                                            John J. Atallah
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                                  DEFENDANT PAYPAL INC.’S MOTION FOR SUMMARY JUDGMENT
                                                                   Case No. 3:22-CV-02718-SK
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